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                                                         U.S. Department of Justice
                                                         Civil Division
                                                         Office of Immigration Litigation
                                                         District Court Section

                                                         450 5th St., N.W., Fifth Floor
                                                         Washington, D.C. 20530

  VIA ECF                                           January 13, 2025
  Hon. Michael A. Hammer
  United States Magistrate Judge
  District of New Jersey
  Dr. Martin Luther King Jr. Bldg. & U.S. Courthouse
  50 Walnut Street, Courtroom MLK 2C
  Newark, NJ 07102

                   Re:   The Roman Catholic Diocese of Paterson, N.J., et al. v. U.S. Department of
                         State, et al., No. 2:24-cv-8350

  Dear Judge Hammer:

  On December 31, 2024, the Court granted Plaintiffs’ unopposed motion for a stay and issued a
  continued stay in the above-referenced matter until March 31, 2025. ECF 26. In granting the stay,
  the Order noted that “[i]t appears that the parties are actively negotiating a resolution of this matter
  that would moot the claims in the Complaint, but that it requires coordination among multiple
  federal agencies.” Id. The parties wish to clarify that they are not actively negotiating a resolution
  at this time. Rather, Plaintiffs have informed Defendants that they are seeking a non-litigation
  resolution of this case through their direct discussions with Congressional members’ offices. As
  previously stated, the Defendants do not oppose the continued stay of this matter while Plaintiffs
  pursue this potential non-litigation resolution.

  Respectfully submitted,
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